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  SO ORDERED.

  SIGNED this 09th day of October, 2024.


                                                      ________________________________________
                                                              CHRISTOPHER G. BRADLEY
                                                         UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION




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   In re:                                      §          Case No. 23-11007-cgb
                                               §
   ARTIUSID, INC.,                             §          Chapter 7
                                               §
                   Alleged Debtor.             §
                                     O         §
                            ORDER GRANTING
       MOTION TO EXPEDITE CONSIDERATION OF EMERGENCY MOTION FOR
      PROTECTIVE ORDER AND TO QUASH DEBTOR’S NOTICES OF DEPOSITION
                          O
            Before this Court is the Motion to Expedite Consideration of Emergency Motion for

   Protective Order and to Quash Debtor’s Notices of Deposition (Dkt. No.107) (the “Motion”)

   filed by Creditor Collaborative Vision LLC (“Collaborative Vision”), requesting expedited
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   consideration of Collaborative Vision’s Emergency Motion for Protective Order and to Quash

   Debtor’s Notices of Deposition (Dkt. No. 106) (the “Motion to Quash”). The Court finds that the

   Motion should be granted as set forth below. It is therefore




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            ORDERED that the Motion is GRANTED, and the Motion to Quash is set for an

   expedited telephonic hearing on the date and time identified above.

                                                 ###

   Order submitted by:

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   HB: 4858-6591-9717.1
